Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 1 of 11 PageID 4435




       IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE
               DISTRICT OF FLORIDA; TAMPA DIVISION

 SCHALAMAR CREEK MOBILE
 HOMEOWNER’S ASSOCIATION, INC.                              Case No. 8:19-cv-00291-
 JSM-AEP
 on behalf of the homeowner-members in its
 representative capacity and on behalf of
 themselves and all other similarly situated,

       Plaintiffs,
 vs.

 STEVEN ADLER, et. al.,

       Defendants.
 ___________________________________/

       SUPPLEMENTAL MOTION FOR ATTORNEYS’ FEES AND COSTS
       Pursuant to Local Rule 7.01 Defendants move for liquidation of their

 attorneys’ fees request. In support Defendants submit the following Exhibits:

       A.     The billing statements from counsel Lutz, Bobo, & Telfair, P.A. and

 Sivyer Barlow Watson & Haughey, P.A., counsel for Defendants;

       B.     A Declaration of Joseph A. Geary In Support Of Defendants’’ Verified

 Motion For Award Of Attorneys’ Fees and Costs (the “Expert Declaration”); and,

       C.     Transcript of presentation by attorney Daniel W. Perry.

 I. Nature Of Action; Must Win For Defendants.
       This was a must win action filed against five (5) distinct groups of Defendants:
            1. The Northwestern Mutual Life Insurance Company, and its
       ownership affiliate, Osprey Links, LLC;
             2. A property management Company (Murex Properties, LLC and
       associated individuals, its principal, Mr. Adler and employees, Ms. Demarco,
       Mr. Provost, Ms. Newkirk and former employee, Mr. Cook);

                                           1
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 2 of 11 PageID 4436




              3. The former park owner Schalamar GP. Inc., and two of its partners,
       individually, Mr. Knapp and his sister Julie Jennings;
              4. The outside counsel for the park, David Eastman and Richard Lee,
       individually and their law firm Lutz Bobo & Telfair, P.A.; and
             5. The trade organization, The Florida Manufactured Housing
       Association, Inc.
       The claims were serious. The principal allegations were RICO claims based

 upon extortion and mail/wire fraud (i.e. criminal predicate acts). The action was a

 model of “over pleading” intended to cause or threaten reputational damage, as

 Plaintiffs’ counsel touted in presentations before rank-and-file homeowners:

       My name is Daniel Perry. I'm an attorney from Orlando.· I have enjoyed
       for the last 25 years the prospect of representing only mobile home
       owners in the State of Florida.· At any given time I've represented over
       300 homeowner associations. … First off, let's me just be honest and tell
       you that lawyers fantasize about suing insurance companies.· Okay.· I
       can't tell you how many times in the course of my day I've licked my lips
       at the thought of suing your park owner.· Okay.· I'm serious when I say
       that. I have over the last five years or so made a considerable investment
       in educating myself and preparing civil RICO claims against developers.
       (p 12) One advantage of civil racketeering … if you prevail in court with
       a stroke with the pen the judge will triple your damages. I think
       Northwest would be insane to not settle this case.· I think they would be
       literally out of their ever-loving mind.· First off, as an insurance company
       they don't ever want to be in front of a jury.· That would be a disaster for
       them.· Okay.· Secondarily, under the circumstances they don't want to
       be in front of a jury having to defend exploiting senior citizens.· Finally,
       they don't want to be in front of a jury being accused of civil racketeering
       because, one thing I forgot to mention is that if a judge agrees that you have --
       that they have committed civil racketeering, the judge can order them to cease and
       desist from this area of the practice.· So they could literally say Northwest, you
       may not ever own another piece of real property again.· That is huge.· And so I
       would tell you that in the Tampa case I sued six entities and four
       defendants, individual defendants.· Okay.· Each one of the individual
       defendants were millionaires.· The lawyer, the subdivision developer, the

                                               2
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 3 of 11 PageID 4437




       codeveloper, and the son of the original developer, all three of them got
       sued and the lawyer got sued.· Okay.· And I -- frankly, I knew the day I filed
       this lawsuit that we won it, because I knew that none of these people wanted
       to be sitting in front of a jury accused of exploiting senior citizens. (pg.
       26-7) [Transcript of presentation attached as Ex. C; [Emphasis supplied]
       The allegations were baseless from the start and included outlandish assertions.

 The spurious nature of the claim is exampled by the ridiculous allegation that the

 park’s management company, a law firm, two lawyers, and a trade organization,

 “operated and managed the affairs” of the Florida legislature and the Florida

 Department of Business and Professional Regulation “through a pattern of

 racketeering and criminal activity.” (Doc. 2 at ¶ 123)(emphasis added). Who even

 suggests such a thing?

       With such allegations, the case was a must win for the Defendants and there

 was no chance of settlement. Importantly for the purposes of this motion, each

 Defendant would have had the right to independent counsel which would have

 increased the attorneys’ fees for the Defendants exponentially. Instead, the two firms

 involved in this application represented all Defendants, except the Florida

 Manufactured Housing Association, Inc. This joint representation unquestionably

 lessened the attorneys’ fees which Defendant could have incurred.




                                             3
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 4 of 11 PageID 4438




 II. The Monetary Recovery Is Not The Whole Picture.
        While Defendants seek to recover some of their losses caused by these frivolous

 claims, other material considerations exist. Plaintiffs’ counsel, attorney, Perry

 attempted to craft a cottage industry suing park owners, and their counsel for the most

 serious of offenses. This is the first of the claims, but far from the last. Since February

 2019, attorney Perry has filed claims alleging the same or similar actions against park

 owners, their employees and, in most cases, their attorneys1. Eight of these claims have

 been resolved; six resulted in attorneys’ fees against the plaintiffs and/or their

 homeowners associations with applications for fees pending for the other two actions.




 1
  Crystal Lake Community Association, Inc. v. Patrick Zilis, et al; USDC, Middle District
 Tampa Division, Case No: 8:21-cv-151; Coquina Crossing Homeowners Association, Inc.,
 v. MHC Operating Limited Partnership, et al; USDC, Middle District Jacksonville
 Division, Case No: 3:21-cv-84; Harbor View Mobile Homeowner’s Association, Inc., v.
 MHC Operating Limited Partnership, et al, USDC, Middle District Tampa Division,
 Case No: 8:21-cv-1143; Holiday Haven Homeowners, Inc., v. Vincent Taranto, et al, USDC
 Middle District Orlando Division, Case No: 6:21-cv-174; Swiss Village, Inc. v. Lawrence
 W. Maxwell, USDC Middle District Tampa Division, Case No: 8:21-cv-153; Maralago
 Cay Homeowners Association, Inc., v. MHC Operating Limited Partnership, et al, USDC
 Southern District West Palm Beach Division, Case No: 9:21- cv-80049-DMM; Beacon
 Hill Colony Homeowners Association, Inc., v. Zilis, et al, Tenth Judicial Circuit in and for
 Polk County, Case No: 2021 CA 2517; Sarasota Winds North II, Inc. v. Equity Lifestyle
 Properties, Inc., Twelfth Judicial Circuit in and for Sarasota County, Case No: 2021 CA
 3904; Royal Palm Village Residents, Inc. v. Monica Slider, et al, USDC Middle District
 Tampa Division, Case No: 8:19-cv-874 pending as Royal Palm Village Residents, Inc. v.
 Monica Slider, et al, USCA 11th Circuit Case No: 21-13789; and Vista Del Lago
 Homeowners Association, inc. v. Leary, et al, Circuit Court, Orange County Fl, Case No.
 2020-CA-012804-O.


                                              4
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 5 of 11 PageID 4439




 In part, Defendants seek fees to stop the evolution of these baseless lawsuits filed by

 attorney Perry.

         III. Rule 7.01 Compliance

         (1) The Meet and Confer Effort
         Defendants sent their account statements to Plaintiffs’ counsel on January 26,

 2022.

         On Thursday March 3, 2022, a status conference was held before Magistrate

 Porcelli. As the minute order reflects, the parties discussed this supplemental motion

 for fees due on March 7. Also as discussed, Defendants indicated that their expert

 report would be supplied to attorney Perry that day. The report was emailed to Mr.

 Perry with an invitation to meet-and-confer. A follow-up request was sent later in the

 day and Friday morning.

         At 4:01 on the day this motion was required to be filed, Mr. Perry emailed the

 following:

               Mr. Bobo:
               As we discussed earlier today I do not have a copy of your Motion
               or verification for the near 700 separate entries under 7.01(c)(4)(E).

               As we discussed, I have broad objection to your fees as excessive
               (unreasonableness) in light of the resolution of the case on the issue
               of standing and the limited nature of the claims ordered by the
               Magistrate Judge. There are numerous instances where there has
               been excessive, duplicative, clerical, or otherwise unreasonable
               charges. There has been no effort to address the indefiniteness of
               many entries.




                                             5
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 6 of 11 PageID 4440




              There is no way I will be able to finish my review before the close
              of business today - which is when you wish to file your
              supplemental motion.

              I do not, however, contest the hourly rate for the services of the
              timekeepers.

              As I am still in the dark as to what your motion explains and
              verifies, I do not oppose an extension of time within which you
              and I could further confer.

              Daniel W. Perry
              4767 New Broad St #1007
              Orlando, FL 32814

       From the telephone conference discussing the application, Plaintiffs’ counsel’s

 overall position is that defense counsel was “overly aggressive” in defending the claim.

 The nature of the action demanded an aggressive defense.

       (2) The resolved and Unresolved Issues
       Defendants received no responses to the individual time entries which were sent

 to Plaintiffs’ counsel more than five weeks ago.

         (3) The timekeeper’s identity, experience, and qualification.
       Mahlon H. Barlow was admitted to the Florida Bar in 1990 and has practiced

 as a commercial litigator since that time. He started at the Bush Ross law firm, before

 starting his own firm Sivyer Barlow & Watson, P.A. In Bahrakis, et al., v. Zimmerman,

 et al., Case No. 8:19-cv-2948-T-24-SPF, U.S. District Court for the Middle District of

 Florida (Tampa Division) at Order (Doc. 41) Senior Judge Bucklew found $460.00 per

 hour to be a reasonable hourly rate for Mr. Barlow. In Maralago Cay Homeowners

 Association, Inc. v. MHC Operating Limited Partnership, et al Case No. 21-cv-80049-

                                            6
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 7 of 11 PageID 4441




 DMM, U.S. District Court for the Southern District of Florida (West Palm Beach

 Division) at Order (Doc. 85) Senior Judge Middlebrooks also found that a rate of $450-

 460 was reasonable for Mr. Barlow.

       J. Allen Bobo was admitted to the Florida Bar and the Georgia Bar Association

 in 1982 and has practiced as a commercial litigator, primarily representing

 manufactured housing community owners and operator since that time. He started at

 the Holland & Knight law firm, before founding his own firm Lutz, Bobo & Telfair,

 P.A. In Bahrakis, et al., v. Zimmerman, et al., Case No. 8:19-cv-2948-T-24-SPF, U.S.

 District Court for the Middle District of Florida (Tampa Division) at Order (Doc. 41)

 Senior Judge Bucklew found $400.00 per hour to be a reasonable hourly rate for Mr.

 Bobo. In Maralago Cay Homeowners Association, Inc. v. MHC Operating Limited

 Partnership, et al Case No. 21-cv-80049-DMM, U.S. District Court for the Southern

 District of Florida (West Palm Beach Division) at Order (Doc. 85) Senior Judge

 Middlebrooks also found that a rate of $425 was reasonable for Mr. Bobo.

       David Eastman was admitted to the Florida Bar 1984 and has practiced as a

 commercial litigator, primarily representing manufactured housing community

 owners and operator since that time. He started at the Parker Skelding law firm, before

 moving to Lutz, Bobo & Telfair, P.A. Mr. Eastman serves as General Counsel for The

 Florida Manufactured Housing Association and the Florida Campground

 Association, the trade organizations for manufactured housing and recreational




                                            7
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 8 of 11 PageID 4442




 vehicle parks in Florida. He has extensive experience in trial, appellate, legislative and

 administrative actions involving these communities. His rate is $450 per hour.

        Jody B. Gabel was admitted to the Florida Bar 1994 and has practiced as a

 commercial litigator, primarily representing manufactured housing community

 owners and operator since that time. Her rate is $350 per hour which reflects her focus

 in this area of law.

        Ali V. Mirghahari – Mr. Mirghahari’s hourly rate of $275.00 per hour has been

 found reasonable by Judge Bucklew in Bahrakis, supra. Given his experience in

 litigating the many cases brought by Plaintiffs’ counsel against mobile homes and the

 Lutz-Bobo firm, this rate is reasonable

        (4) The timekeeper’s requested hours

        The timekeeper’s hours are stated in the attached accounts which are verified

 by lead counsel.

        (5) Lead counsel’s verification that counsel charges the rate requested, has
        reviewed each task, and has removed each charge for a task that is excessive,
        duplicative, clerical, or otherwise unreasonable.
        As lead counsel:
        (i)     I make the indicated verification;
        (ii)    Both firms representing Defendants waived the right to seek fees from the
                successful appeal; and,
        (iii)   Instructed the expert verifying the fees to be as conservative as possible
                in verifying the reasonableness of the fees.
        (6) The timekeeper’s requested rates.



                                             8
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 9 of 11 PageID 4443




              Shown in 3(A) above and in the Expert’s report. Mr. Perry did not object
        to counsel’s rates.
       (6) Evidence showing the reasonableness of the rates based on the prevailing
 market rate in the division in which the action is filed for similar services by a lawyer
 of comparable skill, experience, and reputation.
        See, Expert Declaration attached as Exhibit B.
        (F) Costs.

        Federal Rule of Civil Procedure 54 and 28 U.S.C. § 1920. Rule 54(d)(1) provides

 that costs shall be allowed as a matter of course to a prevailing party unless the court

 directs otherwise. Fed. R. Civ. P. 54(d)(1).

        Defendants have stripped down their cost reimbursement requests to only

 deposition transcripts of Plaintiffs and officers and directors of the Plaintiff

 homeowners’ association. Pursuant to 28 U.S.C. § 1920, the fees for printed or

 electronically recorded transcripts necessarily obtained for use in the case are

 recoverable. The costs associated with video depositions are not sought and have been

 removed. The costs of printed or electronically recorded transcripts necessarily

 obtained for use in the case totaled $9,365.20. The deposition of James Driskill was

 taken twice, once individually and later as a Rule 30(b)(6) representative of the Plaintiff

 homeowners’ association. Only the costs of the written transcripts are requested.




                                             9
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 10 of 11 PageID 4444




                                     Respectfully Submitted,
                                     LUTZ, BOBO & TELFAIR, P.A.

                                     _____________________________
                                     J. Allen Bobo
                                     Florida Bar No. 0356980
                                     2 North Tamiami Trail, Suite 500
                                     Sarasota, FL 34236-5575
                                     Telephone: 941-951-1800
                                     877-951-1800 (toll-free)
                                     Facsimile: 941-366-1603
                                     E: jabobo@lutzbobo.com
                                        ahodgins@lutzbobo.com
                                     Co-Counsel for Defendants

                                     /s/ Mahlon Barlow
                                     ____________________________
                                     Mahlon Barlow
                                     Florida Bar No. 871117
                                     mbarlow@sbwlegal.com
                                     mhbassistant@sbwlegal.com
                                     Nicholas R. Consalvo
                                     nconsalvo@sbwhlegal.com
                                     ddevlin@sbwlegal.com
                                     SIVYER BARLOW & WATSON, P.A.
                                     Truist Place
                                     401 E. Jackson Street, Suite 2225
                                     Tampa, FL 33602
                                     Main: (813) 221-4242
                                     Fax: (813) 227-8598
                                     Co-Counsel for Defendants




                                       10
Case 8:19-cv-00291-TPB-AEP Document 185 Filed 03/07/22 Page 11 of 11 PageID 4445




                     CERTIFICATE OF FILING AND SERVICE

          I HEREBY CERTIFY that on March 7th, 2022, I electronically filed the

  foregoing document with the Clerk of Court via CM/ECF, which will send Notice of

  Electronic Filing to counsel or parties authorized to receive electronic filings in this

  case.

                                                 /s/ ______________________
                                                    J. Allen Bobo




                                            11
